                       IN THE UNITED STATES DISTRICT COURT
                                 DISTRICT OF UTAH


CARL A. BOGGS, III and LEAH BOGGS,

                     Plaintiff,               ORDER GRANTING PRO HAC VICE
                                              ADMISSION
  v.
                                              Case No: 2:20-cv-00632-DBB-CMR
BLUE CROSS BLUE SHIELD OF NORTH
CAROLINA, and BLUE OPTIONS PPO,

                   Defendants.



        Before the court is Local Counsel’s Motion for Pro Hac Vice Admission of Chad D.

Hansen. Based on the motion and for good cause appearing,

        IT IS HEREBY ORDERED that the motion is GRANTED.

DATED this ____ day of February, 2021.


                                                  BY THE COURT:



                                                  Magistrate Judge Cecilia M. Romero




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